Case 2:22-cv-12951-MAG-JJCG ECF No. 4, PageID.227 Filed 12/13/22 Page 1 of 2

                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

JILL BABCOCK, et al.,

                Plaintiffs,                                 Case No. 22-12951

vs.                                                         HON. MARK A. GOLDSMITH

MICHIGAN, STATE OF, et al.,

            Defendants.
__________________________________/

                                   ORDER REGARDING FILINGS

         The Court has adopted the following requirements regarding filings.

       1. To effectuate Local Rule 7.1(a), counsel for a moving party must certify in the first
paragraph of every motion filed, other than a motion that may be filed ex parte, that one of the
following statements, or one substantially similar to it, is true:

      a) The undersigned counsel certifies that counsel personally spoke to, or met with,
         opposing counsel, explaining the nature of the relief to be sought by way of this
         motion and seeking concurrence in the relief; opposing counsel expressly denied
         concurrence.
      b) The undersigned counsel certifies that counsel communicated in writing with
         opposing counsel, explaining the nature of the relief to be sought by way of this
         motion and seeking concurrence in the relief; opposing counsel thereafter
         expressly denied concurrence.
      c) The undersigned counsel certifies that counsel communicated in writing with
         opposing counsel, explaining the nature of the relief to be sought by way of this
         motion and seeking concurrence in the relief, and three business days have lapsed
         without opposing counsel expressly agreeing to the relief, orally or in writing.
      d) The undersigned counsel certifies that counsel made no attempt or a limited
         attempt to seek concurrence in the relief requested by this motion because of the
         following exceptional circumstances. [Set forth the exceptional circumstances
         with specificity.]

        The above statements shall be modified appropriately where one or more parties is
unrepresented. The failure to certify compliance with this paragraph will result in the motion
being struck.

       2. For all documents filed on the docket, including all pleadings (except the complaint),
motions, responses, and briefs, the Court requires filing counsel (or party, if unrepresented) to
include the following certification language:

         “LOCAL RULE CERTIFICATION: I, [counsel’s name, or party’s name, if
         unrepresented], certify that this document complies with Local Rule 5.1(a),
Case 2:22-cv-12951-MAG-JJCG ECF No. 4, PageID.228 Filed 12/13/22 Page 2 of 2

       including: double-spaced (except for quoted materials and footnotes); at least one-
       inch margins on the top, sides, and bottom; consecutive page numbering; and type
       size of all text and footnotes that is no smaller than 10-1/2 characters per inch (for
       non-proportional fonts) or 14 point (for proportional fonts). I also certify that it is
       the appropriate length. Local Rule 7.1(d)(3).”

       3. The Court prohibits the use of excessive footnotes in briefs. A brief supporting a
motion or response may not contain more than 30 lines of footnotes. A brief supporting a reply
may not contain more than 15 lines of footnotes.

      Failure to comply with the requirements set forth in this order will result in the filed
document being stricken.

       SO ORDERED.

Dated: December 13, 2022                      s/Mark A. Goldsmith
Detroit, Michigan                             MARK A. GOLDSMITH
                                              United States District Judge
